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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 HEAD KANDY, LLC,


          Plaintiff/Counterclaim Defendant,
 v.                                                              CASE NO. 23-CV-60345-JB/JMS


 KAYLA MCNEILL,


          Defendant/Counterclaimant/Third-Party Claimant,
 v.
 JEROME FALIC,


          Third-Party Defendant.
                                                             /

            DEFENDANT/COUNTER-PLAINTIFF’S NOTICE OF WITHDRAWAL

          Defendant/Counterclaimant/Third Party Claimant Kayla McNeill (“Ms. McNeill”), by
 and through her undersigned counsel, hereby gives notice of withdrawing the filings “Kayla M.
 McNeill’s Motion for Continuance of Trial” (D.E. 546) and “Kayla M. McNeill’s Motion for
 Continuance of Trial” (D.E. 547, D.E. 547-1, and D.E. 547-2) in light of the filing of Ms.
 McNeill’s Corrected Motion for Continuance of Trial filed January 25, 2025 (D.E. 549, D.E.
 549-1, and D.E. 549-2). Counsel for Ms. McNeill has refiled as D.E. 549, D.E. 549-1 and D.E.
 549-2.

 DATED this 25th day of January, 2025.



                                              Respectfully Submitted,


                                              By: /s/ Laura Burgess
                                              Laura E. Burgess, Esq.
                                              Florida Bar No. 0105073
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                                               L.E. Burgess P.A.
                                               5966 S Dixie Highway, Suite 300
                                               Miami, FL 33143
                                               Tel.: 305.942.8044
                                               Alt. Tel.: 713.818.5055
                                               laura@leburgesslaw.com

                                               and

                                               By: /s/ Antonio L. Converse
                                               Antonio L. Converse, Esq.
                                               Admitted Pro Hac Vice
                                               Converse Law Group, P.C.
                                               600 17th Street, Suite 2800 South
                                               Denver, CO 80202
                                               Tel: 303.228.9471
                                               anthony@converselawgroup.com

                                               and

                                               By: /s/ Jennifer A. Tiedeken
                                               Jennifer A. Tiedeken, Esq.
                                               Admitted Pro Hac Vice
                                               Davis & Ceriani, P.C.
                                               1600 Stout Street, Suite 1710
                                               Denver, CO 80202
                                               Tel: 303.534.9000
                                               jtiedeken@davisandceriani.com

                                               COUNSEL FOR KAYLA MCNEILL


                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 25, 2025, I electronically served the foregoing document

 via email upon all counsel of record for Plaintiff.


                                                             /s/ Laura E. Burgess




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